                                        United States District Court
                                        Northern District of Illinois

In the Matter of

 Skycoin Global Foundation Limited, et al                 District Judge Sara L. Ellis
                          v.                                          Case No. 22-CV-708
                                                                     Designated Magistrate Judge
 Stephens, et al                                                                    Jeffrey Cole



                    TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE
                                 FOR A REASSIGNMENT

   I recommend to the Executive Committee that the above captioned case be reassigned by lot
to another judge of this Court. The reasons for my recommendation are indicated on the reverse
of this form.




                                                   ________________________________
                                                           Judge Marvin E. Aspen

Date: Thursday, February 10, 2022



                                 ORDER OF THE EXECUTIVE COMMITTEE

   IT IS HEREBY ORDERED that the above captioned case be reassigned by lot to the calendar
of an individual judge of this Court in accordance with the Rules.


                                              ENTER

                                   FOR THE EXECUTIVE COMMITTEE




                                                   _____________________________________
                                                    Chief Judge Rebecca R. Pallmeyer
Dated:Thursday, February 10, 2022

District Reassignment - By Lot
- 28:294(b) I transfer this case to the Executive Committee for reassignment to another judge pursuant to
the provisions of 28 USC 294(b). The receiving judge will receive equalization credit.




EXCEPTIONS OR ADDITIONS:




District Reassignment - By Lot
